PuRcHAsE PovaR “;;umh

 

See how much you can save

THE NEW STAN DARD |N with our Purchase Power
PuRcHAsE NloRTGAGE FlNANclNG M°rtsas§£wsram-

Ca|| me today at 910-338-6500
Simply said, our Purchase Power l\/lortgage Program helps you

put more ofyour money into your house and less into your closing.
With our Purchase Power l\/lortgage Program,you have access to
everyday low rates and savings on fees:

 

- No Appraisal Fee - No Credit Report Fee
~ No Underwriting Fee - No Fee for Lender Tit|e Po|icy
- No Document Prep Fee ~ No Recording Fee phil cunningham
' No Flood Certif'ication Fee - No Settlement or C|osing Fee Mortgage Loan Ofr'icer
, And more___ 1213 Culbreth Drive
Suites 143 &+44
NOTE: P|ease refer to the disclosures on the reverse side for Wi|mingt°H-, NC 23405
additional important information. Cell= 910'338'6500

phil.cunningham@gmacm.com
http://www.gmacm.net/phi|.cunningham

NMLS #659032
P/us.~
~ Access to low competitive rates ~ We Will save you hundreds in
closing costs While providing access to everyday low rates. And
remember, With Gl\/lAC l\/lortgage, you never pay an application fee.
- Accelerated Payoff Program -You can choose Wee kly or bi'vveekly
payment options that can reduce the time it takes to pay offyour Serving
mortgage, resulting in interest savings over the life ofthe loan. Talk homeowners
With your loan officer for details. for more than years

- Close on Time Pledge - We pledge that We Will meet the agreed upon
closing date, or We Will give you a $500 pre-paid gift ca rd.

GMA_(=! Mortgage

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Purchase Power Mortgage Program. Avai|able only for nrst lien, purchase loan applications submitted between 09/01/2011
and 12/31/2012 through Gl\/lAC l\/lortgage loan officers Subject to change without notice Note that some loan programs limit
the amount a Lender can contribute to closing costs and fees. Also note that some investors limit the amount of cash refund a
borrower can receive on certain loans. Absent such limits, the Lender will pay or waive the following fees under the Purchase
Power l\/lortgage Program for purchase loans that close: Credit Report Fee, Document Preparation Fee, Loan Processing Fee,
Underwriting Fee, Settlement or Closing Fee, Closing |ndemnification Letter Fee, Appraisal Fees, Title Search and Examination
Fees, Lender’s Attorneys Fees, Recording Fees, Flood Certincatlon and Determination Fees, and Fees related to l_ender’s Title
Po|icy and Endorsements. Borrower is responsible for all other actual fees and costs as allowed by law (whether paid before or
at closing), including fees for services not required by Lender. Although not required under the Purchase Power l\/lortgage
Program, borrower has the option to pay discount points to obtain a lower interest rate.

Accelerated Payoff Program. Under the Accelerated Payoff Progra m, partial mortgage payments are withdrawn from your bank
account once a week, every two weeks, or twice a month. Full monthly mortgage payments are applied to your loan once a
month. Over a 12-month period, you make the equivalent of13 monthly mortgage payments, thus helping to reduce your loan
balance more quickly than scheduled

Close on Time Pledge. |fyour application for a purchase loan is approved, Gl\/lAC l\/lortgage (Gl\/lACl\/l) pledges to close your loan
by the date stated in your Sales Contract. |f you have provided all requested documents and information, but Gl\/lACl\/l cannot
close your loan by the date stated in your contract because of something it did or did not do, GMACl\/i will give you a prepaid
$500 gift card from a national home improvement retailer within 15 days after the actual closing date. Only one $500 gift card
will be given per loan transaction regardless of the number of applicants or delays. This Close on Time Pledge (a) is available
only on purchase loans closed through GMACl\/l, excluding Fl-lA loans and loans Where the closing musttake place less than 30
days from the date ofapplication, and (b) may be withdrawn at any time at Gl\/lACl\/l’s sole discretion Not available in Nevada
or Ohio.

Additional Conditions: Application is required and is subect to underwriting Not all applicants are approvedl Full
documentation & property insurance required Loan secured by a lien againstyour property Fees & charges apply and may vary
by product and State. Terms, conditions & restrictions apply, so call for details Payments do not include amounts clue fortaxes
& insurance, so actual payment will be greater. Recent rate shown for closed or committed loans, but rates, loan products &
fees subject to change without notice. Your rate and term may vary. lfyou do not lock in a rate when you apply, your rate at
closing may differ from the rate in effect when you applied Consolidating or rennancing debts may increase the total hnance
charges you pay over the life ofthe loan and/or the time needed to repay the loan. lmporta nt information relating specihcally
toyour loan will be contained in the loan documents which alone will establish your rights and obligations underthe loan plan.

Gl\/lAC l\/\ortgage acts as a l\/lORTGAGE BROKER ONLY, NOT AS A MORTGAGE LENDER OR MORTGAGE CORRESPONDENT LENDER.
When acting as a mortgage broker, Gl\/lAC l\/lortgage (i) arranges but does not make loans and (ii) submits all loan applications
to an afhliate for credit decisions and funding which may affect availability offunds.

NMLS Unique |dentif1er #1045; Alaska l\/lortgage Broker/Lender Licensee # AK1045; Arizona l\/lortgage Banker License # Bl<-
0908590; Licensed by the Department of Corporations under the California Residential l\/lortgage Lending Act,- Colorado
Responsib|e Party.~ Tom West (Nl\/lLS lD # 41352, CO l\/lortgage Loan Originator License #100025368).T0 check the license status
of your mortgage broker, visit http;//www.dora.state.co.us/real-estate/index.htm; Georgia Residential l\/lortgage Licensee
#5845; |llinois Residential l\/lortgage Licensee # l\/lB.6760182 by the |llinois Department of Financia| and Professional Regulation
~ Division of Banking, 122 South i\/lichigan Avenue, Suite 1900, Chicago, illinois 60603, (312) 793-3000; l\/lassachusetts l\/lortgage
Lender and Broker License # l\/lC1o45; l\/linnesota: This is not an offer to enter into an agreement Any such offer may only be
made in accordance with the requirements of l\/linn. Stat. Section 47.206 (3) and (4); l\/lississippi Licensed l\/lortgage Company;
l\/lontana l\/lortgage Lender Licensee #1045; Licensed by the Nevada Division of i\/lortgage Lending to make loans secured by
liens on real property, License # 610, 10775 Double R B|vd, Suite 123, Reno, NV 89521 (775- 853-4622); Licensed by the New
Hampshire Banking Department; Licensed by the N.J. Department of Banking and lnsurance; Licensed l\/lortgage Banker- NYS
Banking Department; Ohio l\/lortgage Loan Act Certificate of Registration # Sl\/\.5o1453.000; Ohio l\/lortgage Broker Act
!\/lortgage Banker Exemption # l\/lBl\/lB.850031.000; Oregon l\/lortgage Lending License # I\/lL-160; Licensed by the Pennsylvania
Department of Banking; Rhode lsla nd Licensed Lender and Licensed Loan Broker; Licensed by the Virginia State Corporation
Commission License # l\/lC-4473. Washington Consumer Loan Company License # CL- 1045, licensed entity name, Gl\/lAC
r\/lortgage, LLC, NMLS #1045. Gl\/lAC l\/lortgage, LLC (licensed in some states as Gl\/lAC I\/lortgage, LLC d/b/a ditech). 1100 Virginia
Drive, Fort Washington, PA19034 (215-734-5000).

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